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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

_____________________________________
                                     )
JUDITH SHAULIS,                      )
                                     )
            Plaintiff,               )
                                     )           Civil Action No.
      v.                             )           15-10326-FDS
                                     )
NORDSTROM INC., d/b/a                )
NORDSTROM RACK,                      )
                                     )
            Defendants.              )
_____________________________________)

                                 ORDER OF DISMISSAL

SAYLOR, DJ.


       In accordance with the Court’s Memorandum and Order of August 14, 2015, it is hereby

ORDERED that the above-entitled action be dismissed.



                                                        SO ORDERED.
                                                        BY THE COURT:



August 14, 2015                                         /s/ Lisa Pezzarossi
Date                                                    Deputy Clerk
